    Fill in this Information to identify the case:
                                                                                            FILED         Wilkes-Barre, PA.
    Debtor 1          Gloria       Jean           Ruiz
                      ______________________________________________                               October 25, 2021
                      First Name       Middle Name          Last Name
                                                                                             Clerk, U.S. Bankruptcy Court
    Debtor 2          ______________________________________________
    (Spouse, if filing) First Name    Middle Name           Last Name


    United States Bankruptcy Court for the Middle District of Pennsylvania
                       02-00913
    Case number: ________________________

    Form 1340 (12/19)

    APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

    1. Claim Information

    For the benefit of the Claimant(s) 1 named below, application is made for the payment of unclaimed funds on deposit with
    the court. I have no knowledge that any other party may be entitled to these funds, and I am not aware of any dispute
    regarding these funds.

    Note: If there are joint Claimants, complete the fields below for both Claimants.

    Amount:                            $18,768.68

    Claimant’s Name:                   Ashley Duran


    Claimant’s Current Mailing         713 5th St Apt 202
    Address, Telephone Number,         West Sacramento CA 95605
    and Email Address:


    2. Applicant Information

    Applicant 2 represents that Claimant is entitled to receive the unclaimed funds because (check the statements that
    apply):

    Ƒ       Applicant is the Claimant and is the Owner of Record 3 entitled to the unclaimed funds appearing on the records of
            the court.
    ✔
    Ƒ       Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition,
            succession or by other means.

    Ƒ       Applicant is Claimant’s representative (e.g., attorney or unclaimed funds locator).

    Ƒ       Applicant is a representative of the deceased Claimant’s estate.
    3. Supporting Documentation
    ✔
    Ƒ      Applicant has read the court’s instructions for filing an Application for Unclaimed Funds and is providing the required
           supporting documentation with this application.




1
  The Claimant is the party entitled to the unclaimed funds.
2
  The Applicant is the party filing the application. The Applicant and Claimant may be the same.
3        Case
  The Owner      5:02-bk-00913-HWV
             of Record  is the original payee.Doc 96 Filed 10/25/21 Entered 10/25/21 08:38:05                      Desc
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  4. Notice to United States Attorney

  ✔
  Ƒ    Applicant has sent a copy of this application and supporting documentation to the United States Attorney,
       pursuant to 28 U.S.C. § 2042, at the following address:

                                              Office of the United States Attorney
                                                 Middle District of Pennsylvania
                                         William J Nealon Federal Bldg & Courthouse
                                                235 N Washington Ave, Ste 311
                                                      Scranton, PA 18503

 5. Applicant Declaration                                      5. Co-Applicant Declaration (if applicable)
 Pursuant to 28 U.S.C. § 1746, I declare under penalty of      Pursuant to 28 U.S.C. § 1746, I declare under penalty of
 perjury under the laws of the United States of America        perjury under the laws of the United States of America
 that the foregoing is true and correct.                       that the foregoing is true and correct.
        10/20/2021
 Date: ____________________________                            Date: ____________________________

 _______________________________________________               _____________________________________________
 Signature of Applicant                                        Signature of Co-Applicant (if applicable)

 Ashley Duran
 _______________________________________________               _____________________________________________
 Printed Name of Applicant                                     Printed Name of Co-Applicant (if applicable)

                713 5th St Apt 202
 Address:       West Sacramento CA                             Address:
                95605


                916-730-5481
 Telephone:     ________________________                       Telephone:     ________________________

 Email:          admin@makeithappenenterprise.com
                 _______________________                       Email:            _______________________

 6. Notarization                                               6. Notarization
 STATE OF California                                           STATE OF

 COUNTY OF Sacramento                                          COUNTY OF

 This Application for Unclaimed Funds, dated                   This Application for Unclaimed Funds, dated
 10/20/2021            was subscribed and sworn to before                           was subscribed and sworn to before
 me this 20     day of October              , 20 21    by      me this        day of                      , 20       by
 Ashley Jenae Duran
 who signed above and is personally known to me (or            who signed above and is personally known to me (or
 proved to me on the basis of satisfactory evidence) to be     proved to me on the basis of satisfactory evidence) to be
 the person whose name is subscribed to the within             the person whose name is subscribed to the within
 instrument. WITNESS my hand and    d official seal.           instrument. WITNESS my hand and official seal.

 (SEAL)           Notary Public                                (SEAL)            Notary Public

                         My commission expires:                                  My commission expires:

                       07/21/2024




Form 1340                   Application for Payment of Unclaimed Funds                                              Page 2

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                                 CERTIFICATE OF SERVICE


I hereby certify that I have this day served a true copy of the foregoing document form 1340 (12/19)
            I hereby certify
upon the participants, listed that I have
                               below,      this day served
                                      in accordance  with thearequirements
                                                               true copy of pursuant
                                                                            the foregoing  document
                                                                                     to 28 U.S.C. § 2042, at
            upon  the
the following address:participants,   listed below, in accordance    with the requirements   of § 1.54
           (relating to service by participant).
Office of the United States Attorney
Middle District
            (Listofnames
                    Pennsylvania
                          and addresses of participants served.)
William J Nealon Federal Bldg & Courthouse
235 N Washington     Ave, Ste
            (Participants     311 include the Pennsylvania Department of Transportation, the
                           should
Scranton, PA 18503
           Railroad Company, the county and municipality where the crossing is located,
           and any fixed utility companies with facilities at the crossing.)




           Datedthis
           Dated this25th
                      _________________day
                          day of October, 2021. of ______________________, 20_____.

       10/25/2021                                  __________________________________
         (Date)                                               (Signature)




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                                      ASSIGNMENT
                             Assignment                   OF
                                         Of Rights To Claim   RIGHTS
                                                            Unclaimed  Funds From
                        The
                        TO United
                            CLAIM States Bankruptcy
                                       EXCESS       Court Middle District
                                                   PROCEEDS       FROM    Of SALE
                                                                             Pennslyvania
                                                                                     OF
                                         TAX-DEFAULTED PROPERTY

 Forvaluable
 For  valuableconsideration,
                considerationI I/we,
                                 Gloria_______________________________________________,
                                         Jean Ruiz, the undersigned assignor hereby; grant Ashley Jenae   theDuran,
                                                                                                              undersigned assignor(s),
 assignee,grant
 hereby;   all rights, title, and interest to collect 100% of the unclaimed
                  ____________________________________,                     funds
                                                                     assignee, all in which
                                                                                   rights,    I am
                                                                                           title   entitled
                                                                                                 and        to to
                                                                                                     interest  associated
                                                                                                                  collect ____% of the
 with case number #02-00913 of The United States Bankrupcy Court Middle District Of Pennslyvania.
 excess proceeds which I am entitled to claim for the property which was sold by the Tulare County Tax Collector at a
 public auction held on ___________________, said property more commonly known as __________________________,
 State of California, County of Tulare, and described as parcel number ____________________________.
As the assignor I understand the total amount eligible for distribution is $$18,768.68 and as the party of interest
I am entitled to that amount. Furthermore it is also understood that I have the right to file this claim on my own behalf
directly to The United States Bankruptcy Court Middle District Of Pennslyvania at no cost.
 As the assignor(s), I/we understand that the amount of the excess proceeds eligible for distribution is
 $______________________, and as a party(ies) of interest, I/we am/are entitled to that amount. It is further understood
 that I/we have the right to file this claim on my/our own behalf directly to the Tulare County Tax Collector at no cost.
Dated this 10th day of October 2021
 Dated this _______ day of __________________, 20__.


                                                                ___________________________________________________
                                                                Assignor Signature

                                                                ___________________________________________________
                                                                Assignor Signature



                                                ACKNOWLEDGMENT
            California
 State of _______________;
            Sacramento
 County of _____________;

          OnOctober 10th       21
              __________________,                                  B Justice
                                      20___, before me, _____________________________,        a notary public in and for the
          California
 State of _______________,     personally appearedGloria Jean Ruiz
                                                    _______________________________________,          who proved to me on
 the basis of satisfactory evidence to be the person(s) whose name is/are subscribed to the within instrument and
 acknowledged to that he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their
 signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the
 instrument.

                                                                                 California
         I certify under the PENALTY OF PERJURY under the laws of the State of ________________; that the
 foregoing paragraph is true and correct.

 WITNESS my hand and official seal:


 Signature:_____________________________                (SEAL)




 TCTCdocmc01/13 EP R&T 4675(c)

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 From:               web@pamb.uscourts.gov on behalf of PAMB Web
 To:                 PAMBml_fax
 Subject:            EDSS filing from Ashley Duran for Gloria Ruiz on Monday, October 25, 2021 - 06:19
 Date:               Monday, October 25, 2021 6:19:21 AM




 Submitted on Monday, October 25, 2021 - 06:19
 Submitted by user: Anonymous
 Submitted values are:

 Filer's Name: Ashley Duran
 Debtor's name (if different): Gloria Ruiz
 Filer's EMail Address: admin@makeithappenenterprise.com
 Filer's Phone Number: 9167305481
 Case number (if known): 02-00913
    ==Documents==
     Document 1:

 http://www.pamb.uscourts.gov/system/files/webform/edss/Form_1340_application_unclaimed_funds%20%282%29.pdf
     Document description: Application For Unclaimed Bankruptcy Funds
       ==More Documents==
        Document 2:


 http://www.pamb.uscourts.gov/system/files/webform/edss/main_certificate-service-pennsylvania%20%282%29.pdf
        Document 2 description: certificate of service
        Document 3:


 http://www.pamb.uscourts.gov/system/files/webform/edss/printed%20overages%20assignment%20of%20rights%20to%20claim%20excess%20%282%29.pdf
        Document 3 description: assignment form
        Document 4:

    http://www.pamb.uscourts.gov/system/files/webform/edss/Gallery.pdf
       Document 4 description: DL Copy
       Document 5:
       Document 5 description:




 By entering my name in the box below, I affirm that I am intending to sign
 this form with my signature and consent to use this electronic form.: ashley
 duran




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